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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


   UNITED STATES OF AMERICA

         v.                                       CASE NO. 8:20-mj-1518-AEP

   MUHAMMED MOMTAZ AL-AZHARI


                NOTICE OF INTENT TO USE FOREIGN
          INTELLIGENCE SURVEILLANCE ACT INFORMATION

         The United States of America hereby provides notice to the Defendant,

   Muhammed Momtaz Al-Azhari, and to the Court that, pursuant to 50 U.S.C.

   §§ 1806(c) and 1825(d), the United States intends to offer into evidence, or

   otherwise use or disclose in any proceedings in this matter, information

   obtained or derived from electronic surveillance and physical search

   conducted pursuant to the Foreign Intelligence Surveillance Act of 1978, as

   amended, 50 U.S.C. §§ 1801-1812 and 1821-1829.
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         WHEREFORE, the United States respectfully requests that the

   Defendant and the Court take notice of the above.


                                            Respectfully submitted,

                                            MARIA CHAPA LOPEZ
                                            United States Attorney

                                      By:   /s/ Patrick D. Scruggs
                                            Patrick D. Scruggs
                                            Assistant United States Attorney
                                            United States Attorney No. 140
                                            400 North Tampa Street, Suite 3200
                                            Tampa, Florida 33602
                                            Telephone:        (813) 274-6000
                                            E-mail: patrick.scruggs@usdoj.gov




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   U.S. v. Muhammed Momtaz Al-Azhari                    Case No. 8:20-mj-1518-AEP


                            CERTIFICATE OF SERVICE

          I hereby certify that on June 9, 2020, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system which will send a

   notice of electronic filing to the following:.

          Samuel Landes, Esq.


                                                    /s/ Patrick D. Scruggs
                                                    Patrick D. Scruggs
                                                    Assistant United States Attorney
                                                    United States Attorney No. 140
                                                    400 North Tampa Street, Ste. 3200
                                                    Tampa, Florida 33602
                                                    Telephone: (813) 274-6000
                                                    Facsimile: (813) 274-6125
                                                    E-mail: patrick.scruggs@usdoj.gov




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